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                               IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                                  Case No. 2:16-CR-631 DAK

                              Plaintiff,                                   UNITED STATES’S MEMORANDUM
        vs.                                                                IN SUPPORT OF MAGISTRATE
                                                                           JUDGE’S ORDER TO DETAIN
DREW WILSON CRANDALL,
                                                                           Judge Dale A. Kimball
                              Defendant.



        Mr. Crandall represents an unmanageable risk of flight, danger to the community, and

obstruction of justice, and for those reasons, the United States submits this memorandum urging

the Court, like Magistrate Judge Barry M. Kurren in the District of Hawaii, to order the

defendant be detained pending trial.


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1.     STATEMENT OF FACTS
       “The rules concerning admissibility of evidence in criminal trials do not apply to the

presentation and consideration of information at the detention hearing.”1 Consequently, the

United States intends to proceed by proffer, made both in this pleading and further at the

upcoming hearing.2

1.2    Overview

       1.     The organization began with collaboration between Shamo and Crandall, but

quickly grew to include dozens of co-conspirators. Shamo and Crandall purchased pill tableting

machines, sometimes called pill presses, dies and stamps to mark pills so the markings would

match those of legitimate pharmaceutical drugs, and inert pill ingredients, such as binding agents

and colors. Some items, such as the binding agents and colors were purchased legally, and other

inputs, such as Fentanyl and Alprazolam, were purchased and imported into the United States

illicitly. To avoid detection, Shamo and Crandall had many of their inputs shipped to nominees

or straw purchasers. Shamo and Crandall paid their nominees and straw purchasers for their

assistance.

       2.     The inputs would then be pressed into pills that had the appearance of legitimate

pharmaceuticals. Their fake Oxycodone-type pills and the counterfeit alprazolam tablets were

sold on the dark web at a significant profit. Once sold, Shamo and Crandall used co-conspirators

to package the pills and ship the pills to the customers. Shamo also employed a co-conspirator to

provide online customer support—a role that Crandall took up again in 2016 after spending time

travelling abroad.


1
 18 U.S.C. § 3142(f).
2
  United States v. Smith, 79 F.3d 1208, 1210 (D. C. Cir 1996) (“Every circuit to have considered
the matter … [has] permitted the Government to proceed by way of proffer.”).


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       3.     Sales on the dark web marketplace3 were conducted in bitcoin, a decentralized

virtual currency. Shamo and Crandall expended a fair amount of effort converting their bitcoins

into fiat currency, which could be used to support their lifestyles and pay their co-conspirators,

among other things.

1.3    Historical Investigation

       4.    The historical investigation revealed that Shamo and Crandall’s organization, using

an online marketplace account associated with Shamo, made purchases of manufacturing

paraphernalia, including latex gloves, postage, bubble wrap, and empty gelatin capsules in 2014.

That same online marketplace account purchased an item described as tablet press mold lab

equipment in 2014.

       5.    In 2014 and 2015, Crandall, his girlfriend named S.G., Shamo, and other co-

conspirators used PayPal my cash cards to launder approximately $50,000 USD back into the

financial system. Investigators frequently see bad actors purchase PayPal cash cards on the dark

web, for example, with bitcoin, and then upload the cash cards into PayPal accounts in violation

of PayPal policy, where the funds can then be transferred legitimately into the financial system.

The PayPal investigators determined that fraud was likely occurring and deactivated all the

accounts associated with the organization.

       6.    In May, 2015, S.G. lost her job at an online marketplace company as a result of the

PayPal my cash card fraud found on her PayPal account.




3
 Evidence exists that the organization sold drugs on more than one dark web marketplace, but
most of the evidence of sales discussed below concern sales made on one particular dark web
marketplace—AlphaBay. The DOJ announced on July 20, 2017, that AlphaBay had been shut
down through a combined law enforcement effort with a number of countries around the world.


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       7.    On several occasions in 2015, Crandall’s debit card was used to purchase postage at

numerous post offices throughout the Wasatch Front in Utah.

       8.    In October 2015, Crandall was sent a shipment of microcrystalline cellulose—a

binding agent used in pill pressing. During October, Crandall also sent four payments to Press

Club Nutrition—an online vendor, mentioned below, that supplies pill pressing ingredients and

paraphernalia. While only one shipment went to Crandall, other press club shipments in October

went to Shamo and J.V., a straw purchaser for the Shamo/Crandall organization.

       9.    In November 2016, after developing a handful of confidential sources of

information, investigators were able to seize more than 70 packages of pills that had been

manufactured by the Shamo/Crandall organization and which were packaged for shipment to

customers. The seized packages were mostly envelopes, but agents also seized 10-20 small

boxes, and 5 large boxes. All the packages had a fake return address—some stated “Jamaica

Green Coffee.” One large box was opened and agents found an invoice for the purchase of

“French Decaf Coffee.” Inside this box were two large, vacuum-sealed, foil bags each

containing a large plastic bag filled with small blue pills that appeared to be Oxycodone 30mg

blue pills, bearing the stamp “A 215.” Each bag had written in the corner “5000.” Each bag

appeared to contain 5,000 pills. A total of 20,000 pills were in this one box, with a wholesale

value of over $400,000. Several other bags were opened with varying amounts of what was

appeared to be Oxycodone and Xanax. These packages all had different mailing addresses for

customers throughout the United States. The DEA lab has confirmed that the seized packages

contained Fentanyl and Alprazolam, for fake Oxycodone and counterfeit Xanax, respectively.




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       10.   Below is a picture of one of the opened packages of fake pills seized during the

investigation:




       11.   Based on the seizures, surveillance, and information from confidential sources,

agents were able to secure search warrants for Mr. Shamo’s residence and the residence of two

of his co-defendants, Ms. Tonge and Ms. Bustin.

       12.   On November 22, 2016, a search warrant was executed on Shamo’s residence and

investigators located and seized additional evidence indicative of narcotics trafficking, including

suspected precursor chemicals, approximately 70,000 pills that had the appearance of

Oxycodone (and which later tested positive for Fentanyl), pill press machines, and approximately

$1,227,773 in US currency, which is believed to be proceeds from narcotics trafficking.




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         13.   Below left is a photo of the currency seized and below right is a photo of one of the

pill presses found in the residence:




         14.   Shamo was arrested at his residence at the time the search warrant was executed.

         15.   During the November 22, 2016 execution of the search warrant on Shamo’s house,

Shamo told agents that he had recently been “unloading bitcoin” and that he had $700,000 to a

$1,000,000 in cash. As mentioned above, agents seized over $1,200,000 in cash from Shamo’s

house.

         16.   Forensic evidence review of computers seized from Shamo identified

communications between Shamo and multiple others who used the Localbitcoins.com site

confirming bitcoin transactions where Shamo was selling bitcoin via multiple platforms offered

by the site.




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         17.   Localbitcoins.com is the web site for Local Bitcoins, which is a global Bitcoin

exchange available in 248 countries.4 Unlike other exchanges, which require ID verification and

personal information, Local Bitcoins allows its users to buy bitcoin without connecting their

name or other identifiable information to the bitcoin transactions that occur using its site other

than an email address. Users are free to decide on their own prices and limits.

1.4      Interview of Alexandrya Tonge, Pill Packager

         18.   On November 22, 2016, investigators executed a search warrant at the residence of

Alexandrya Tonge and Katherine Bustin, which resulted in the discovery and seizure of

Fentanyl, shipping labels, packaging and other evidence indicative of narcotics trafficking.

         19.   Tonge, after waiving her Miranda warnings, stated that she and Bustin met Shamo

and Crandall while working at an online marketplace company. Tonge was initially told by

Shamo and Crandall that they stopped working at the online marketplace company because they

were trading Bitcoin and were making a lot of money. Tonge stated that she was unsure what

trading Bitcoin entailed, but realized the two (Shamo and Crandall) continued to make a lot of

money after they quit their jobs at the online marketplace company. Tonge stated that she

maintained a friendship with Shamo on Facebook, and asked Shamo how they made so much

money and how she could get involved. Approximately two years prior to the interview, Shamo

and Crandall hired Tonge, and her roommate, Bustin, to work as a “drop”—a role in which they

would receive packages sent via commercial courier to their residence, located in South Jordan,

Utah, and then turn the packages over to Shamo and Crandall. Tonge explained that Shamo and

Crandall would pay them approximately $200 to $300 per package. Tonge also stated that she

knew the packages contained something illegal, but did not know what the contents were at that


4
    According to Localbitcoins.com. Accessed on August 15, 2017.


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time. She remembered that a few of the packages came from Florida, and some came from other

countries. She thought that some of the packages had Chinese writing on them. She estimated

they had received approximately four packages at their residence before June 2015. In June of

2015, Tonge said she asked Shamo and Crandall if her and Bustin could play a different role in

the organization to make more money. Tonge stated that Shamo and Crandall allowed Tonge

and Bustin to become more involved in their drug trafficking organization by “packaging”

narcotics.

       20.    Tonge explained that Crandall came over nightly to Tonge and Bustin’s residence

and instructed them on how to package narcotics. Tonge stated that Crandall showed Tonge and

Bustin how to wrap the packages, specifically using a vacuum sealer and Mylar bags, which he

told them would make the narcotics undetectable. Tonge explained that she and Bustin used

padded envelopes or priority mail envelopes and regular stamps to ship the narcotics. She stated

that Crandall brought them envelopes and stamps. If they purchased shipping supplies on their

own, they were reimbursed by either Shamo or Crandall. Tonge explained that they were

instructed by Crandall to use fictitious company names as the shippers on the package labels.

Tonge explained that she and Bustin would receive “drops” of narcotics from both Shamo and

Crandall—meaning that Shamo and Crandall would provide the fake pills that Tonge and Bustin

would package and ship to customers.

       21.    Tonge stated that Crandall left the country approximately a year prior to the

interview and moved to New Zealand with his girlfriend. Tonge stated that Shamo had

previously told her and Bustin that he had “bought Drew out.” From that point forward, Shamo

exclusively made all the narcotics deliveries to their residence. Tonge stated during the

interview that Crandall was in Laos with his girlfriend, but was once again involved in the




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organization—Crandall was sending messages and providing customer service on the Dark Net

related to narcotics orders from Shamo’s customers.

       22.    Tonge explained her and Bustin’s role and how the shipping operation worked as

follows: the orders from the dark net website ALPHABAY would be decrypted by the customer

support personnel, who would send the orders to Tonge and Bustin’s dark web email address—

Passthepeas@sigaintevyh2rzvw.onion.5 Tonge would decrypt the messages sent to their dark

web email address, package the pills, and purchase postage labels to fulfill the orders.

       23.    Tonge said she and Bustin utilized a bitcoin account, accessible from her MacBook

Pro through an app called Multibit, which is a bitcoin wallet funded by Shamo, to pay for

postage and generate labels to print out for the parcels. She said there was approximately $400

USD worth of bitcoins in the account. Tonge said she assumed Shamo used the same app for his

bitcoin accounts. She said she thought Shamo would often use bitcoin for purchases on

Amazon.com. She said Shamo spoke of meeting people for bitcoin trades in which they paid

cash and he transferred bitcoins. Tonge thought that most of Shamo’s money was in bitcoin, and

that buyers paid for the narcotics using bitcoin.

       24.    Tonge said there was a decryption program on her MacBook computer that

allowed her to decrypt the passthepeas@sigaint.org emails. She said she had deleted some of the

emails, but there were approximately 4-5 pages of emails still on the account.




5
  Their dark web email address had two different points of access—one on the dark web, one on
the surface web. Accordingly, their dark web email address was
Passthepeas@sigaintevyh2rzvw.onion, while their surface address appeared as
Passthepeas@sigaint.org. These two email addresses belong to the same email account.


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       25.    Tonge informed investigators that an individual named Noble was the person who

dealt with the customer service portion of the organization. Noble would compile the orders

from Shamo’s dark net site. She said, from what she had heard, the dark net site looked very

similar to any online marketplace. She said Shamo started trafficking narcotics on the dark net

marketplace called Agora.

       26.    Referencing Noble’s role in the DTO, Tonge said Noble would sometimes send

her and Bustin emails saying, for example, “this customer is unhappy, can you do this?” Tonge

said Noble did not know her or Bustin personally.

       27.    Tonge said Shamo had a friend named L., later identified as L.P. Tonge stated that

L.P. helped him press pills at Shamo’s home. Tonge said she had been to Shamo’s residence

before to pick up product, payment, and packaging materials, but she had only been in one room.

       28.    Tonge provided HSI agents with access to the

Passthepeas@sigaintevyh2rzvw.onion/ Passthepeas@sigaint.org email account and permission

to enter the secure email site using her credentials. The agents reviewed the emails from that

encrypted account and noticed that older emails appeared to have been deleted, but agents found

an email with instructions written by Crandall that was dated July 8, 2015. The email was sent to

Passthepeas@sigaint.org from Passthepeas@sigaintevyh2rzvw.onion—meaning it was sent to

and from the same account.




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       29.    The email authored by Crandall was discovered in the “Sent Mail” folder. It had

both public and private keys for PGP encryption attached with instructions. The email

discovered read as follows:


                      Subject:         asc file to import
                      From:            passthepeas@sigaint.org
                      Date:            Wed, July 8, 2015 6:43 am
                      To:              passthepeas@sigaintevyh2rzvw.onion
                      Priority:        Normal
                      here is the asc file attached to this.
                      pen the gpg keychain program from your applications folder. then at the
                      top go to file > import > and choose this file you've downloaded.
                      now when you have a text file to send to us, right click on it >> bottom
                      of that menu and choose services > gpg encrypt file
                      then the box that comes up, you should choose gene001 key in the top box
                      to encrpyt the file with. the bottom box is for signing your message,
                      which means aaron can detect any evidence of tampering with the
                      encryption. for now dont worry about doing that.
                      delete this after reading and importing this asc file.
                      Thanks

       30.    This email corroborated the statements made by Tonge that not only identified that

it was sent from an individual other than Aaron Shamo but also identified that the organization

employed operational security in the form of encryption and took measures to conceal evidence

of the crime, which is documented with the instruction to delete the message after performing the

instructed tasks.

       31.    Agents also observed that the account was receiving shipping orders from

drw99@sigaint.org, americansteam@sigaint.org, and shortbread66@sigaint.org.

       32.     In corroboration, agents subsequently learned that Drew Crandall sent Tonge a

$500 USD payment via Venmo.




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1.5    Interview of Katherine Bustin, Pill Packager

       33.     On November 22, 2016, agents interviewed Bustin, who lived with Tonge. Bustin

told agents that both Shamo and Crandall would pay Bustin and Tonge to receive parcels. Bustin

stated that Crandall showed her and Tonge how to package the pills properly so product was not

damaged during shipment. Bustin also informed the agents that Crandall directed her and Tonge

to put the pills in Mylar bags because they could not be x-rayed, and to include an invoice inside

each package. Bustin told the agents that in the beginning Crandall would bring narcotics in

“Ziploc baggies or gallon baggies” to their residence for repackaging and shipment.

       34.     Bustin explained to agents that Tonge would download encrypted “order

fulfillment” information from an email sent by Shamo. Bustin explained that she believed the

email account over which Tonge and Shamo communicated was accessed using TOR—an

internet browser that allows users to access the dark web. Bustin stated that Crandall showed

Tonge how to access that email account, decrypt the order fulfillment list, and then print the

information—which included the quantity and shipping address for each customer. Emails from

that encrypted account were periodically deleted, but agents found an email with instructions

written by Crandall that was dated July 15, 2015.




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1.6    Interviews of Mario Noble, Customer Support Provider

       35.     On November 22, 2016, and again on December 7, 2016, agents interviewed

Mario Noble, who stated that he worked for Shamo by responding to messages and providing

customer service for Shamo’s Dark Net “store.” Noble explained that Shamo provided him with

access to the Dark Net account that was selling fake Oxycodone-type pills made with Fentanyl.

Noble further explained that he would process the orders, answer messages and provide customer

service responses to customers. Noble explained that he would generate the daily order

fulfillment list, encrypt it, and send it to the packagers/shippers by using an encrypted email.

Noble stated that he sent these emails to passthepeas@sigaint.org, which he was instructed was

the shipping team who he never met. Noble explained that his email account was

drw99@sigaint.org and that he would send to and receive encrypted emails from Shamo who

was using americansteam@sigaint.org.

       36.     Noble stated that during his employment he processed approximately 20-50

orders each day for PHARMA-MASTER. Noble stated that he worked for Shamo performing

his tasks until September 2016 when he took a break for a month after telling Shamo he did not

want to do it as much. Noble stated that, at that time, Shamo explained he had another person

doing what Noble was doing. Further, Noble told the agents that Shamo referred to the other

individual as “Drew,” stated it was "some guy in India,” and at one time referenced "they were

traveling to Cambodia, Thailand.” Noble believed that this other person acting as PHARMA-

MASTER on the AlphaBay vendor account for Shamo was Drew Crandall.




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       37.     Noble gave agents his access credentials to the AlphaBay account that was

granted “shared” access to the “PHARMA-MASTER” vendor account. At the time that the

agents reviewed the account it had already been banned by AlphaBay.

       38.     In reviewing the encrypted emails between drw99@sigaint.org to

passthepeas@sigaint.org, there are no messages in September 2016 between the two accounts.

Rather, passthepeas@sigaint.org was receiving the daily fulfillment orders from

americansteam@sigaint.org (Shamo) and shortbread66@sigaint.org. Agents believe Crandall

was operating as shortbread66@sigaint.org.

       39.     The PHARMA-MASTER account shows that the form of accepted payment for

the drugs was in Bitcoin. Noble stated that Shamo showed him how Bitcoins worked and that

Shamo had shown Noble, on Shamo’s computer, Shamo’s Bitcoin wallet; Noble stated that at the

time Shamo showed Noble his wallet, Shamo’s Bitcoin wallet had over $600,000 worth of

Bitcoin in it. Noble stated that Shamo told him that he trades Bitcoin for cash with people.

Shamo made it seem that he had a person he dealt with to trade Bitcoin, but he did not elaborate.

Shamo told Noble that he would tell people that he traded Bitcoin for a living.




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       40.    Here is a screenshot of some of the pills for sale on the PHARMA-MASTER

storefront on AlphaBay:




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1.7    Review of Pharma-Master’s online feedback

       41.     Investigators reviewed PHARMA-MASTER’s public facing page online.

Investigators learned that PHARMA-MASTER’s store front on AlphaBay allowed customers to

post feedback online. The feedback listed the price (in bitcoin), type, quantity of pills purchased,

as well as the date of the purchase. Investigators were able to determine the total revenue and

total sales from the sales for which a customer left feedback/finalized their purchases; the totals

for the feedback-linked sales are as follows6:



        Revenue:                  $2,817,928.43
        Total Items Sold:               872,789
        Total Transactions:                5606

        Type of Pill              Total Orders        Total Quantity      Total Value
        Adderall                            87                   884         $8,971.26
        Xanax                            1,653               405,801       $283,168.42
        Oxycodone                        3,493               458,975     $2,472,306.48
        *M Box                             871               210,752     $1,005,760.73
        *Roxy                            2,245               243,004     $1,417,448.07
        *Fentanyl                          377                 5,219        $49,097.68
        Etizolam                           105                 3,930         $3,830.85
        Valium                              75                 2,010         $2,172.50
        LSD                                 82                   694         $3,734.53
        Mephedrone                          23                    30         $1,082.40
        Cialis                              25                   250           $368.85
        MDMA                                27                   189         $1,276.77
        Ritalin                              7                    25           $185.42

       *Oxycodone total is from M Box, Roxy, and Fentanyl combined into one result.




6
 These figures were calculated from feedback posted between Dec 15, 2015, and November
2016, when the storefront was shut down after SHAMO’s arrest. The cash value of the bitcoin
paid for the fake and counterfeit pills was determined based on the date of sale. Bitcoin has
continued to appreciate in value: as of October 13, 2017, 1 bitcoin was worth more than $5,200
USD.


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1.8    Interview of T.E., Nominee

       42.     On December 14, 2016, agents interviewed T.E. T.E. stated that he had been

receiving packages from China on behalf of Shamo and Crandall. T.E. stated that he worked

with Crandall for an online retailer and Crandall had introduced him to Shamo. T.E. stated that

approximately a year prior to the interview he was approached by Crandall inquiring if he would

be interested in making a little extra money. Crandall explained that his address would be used to

receive shipments on behalf of Shamo and Crandall. T.E. described Shamo and Crandall using

the term “co-partners” while referring to their business. T.E. estimated that he received

approximately five parcels over an estimated six-month period.

1.9    Crandall’s arrest and border search

       43.     On May 5, 2017, Crandall and S.G. flew into Honolulu to get married. Crandall

and S.G. were detained as they passed through the Honolulu airport and were interviewed by

case agents. Crandall, after hearing his Miranda warnings, agreed to speak with the agents.

Crandall claimed to know little about Bitcoins, explaining that he bought one, once, for two

dollars. Crandall, when confronted about the conspiracy, invoked his right to have an attorney

present.

       44.     HSI agents searched Crandall’s devices pursuant to their border search authority.

During the border search, agents discovered that Crandall’s computer viewed an article that

discussed the recent arrest of the “Cocaine Cowboy,” a “mansion-owning playboy drug

smuggler” on the run for 26 years.




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       45.     Here are two pictures of the article viewed:




1.10 Financial Investigation into Crandall

       46.     Crandall’s AFCU account, # 893-1, shows numerous purchases that were made

using a debit card. The purchases include three payments to the Press Club of Toronto Canada in

October 2015. The Press Club has been identified as a major supplier of ingredients, including

microcrystalline cellulose, FD&C colors, and other substances that are used in pill/tablet

production. There are also numerous debit purchases made to shipping supply companies during

the same time period.

       47.     Agents identified that Crandall used the moniker "Drewbie" on

Localbitcoins.com. Agents performed a google search on drewbie and Bitcoin that showed two




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cached listings from the user "drewbie" on the Localbitcoins.com site. One listing offered to sell

bitcoins in Salt Lake City, the other in Auckland, New Zealand.

         48.      The “Drewbie” profile showed he created the account August 2014; he had more

than seventy confirmed trades and the site listed his trade volume between 250-500 Bitcoin.

According to the site, the platform supports exchangers in approximately 248 countries.

         49.      Subpoenaed records from Bitstamp LTD showed that Crandall, from an IP

address in Australia, made a transfer of bitcoin to an address identified as belonging to

Localbitcoins.com.

1.11 Interviews with S.G.

         50.      S.G. was detained with Crandall at the airport in Hawaii. S.G., after hearing her

Miranda warnings and agreeing to speak to agents, explained that Crandall had cashed out

bitcoins and they were travelling by utilizing those funds. S.G., when confronted with the

conspiracy, also invoked.

         51.      Subsequently, S.G. and her attorney met with investigators and explained the

following:

1.11.1         Crandall first admits his involvement with Shamo

         52.      S.G. and Crandall started dating in 2014. Crandall first told S.G. he was involved

in “something more” at a Christmas party in 2014. Prior to that, S.G. had been pulling away from

Crandall and considered breaking things off, as it seemed as though he was keeping things from

her. S.G. approached Crandall the night of the party and told him he was very closed-off and not

telling her something. Crandall then explained that he and Aaron [Shamo] had been selling drugs

as a means for Crandall to pay off his student loan debt. S.G. asked Crandall how much he owed

in student loan debt and described his response as between “$30,000 - $40,000,” but S.G. could



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not recall the exact amount. S.G. described the conversation as a “tearful explanation” of what

Crandall was doing and why he did not spend as much time with her. S.G. later recalled Crandall

explaining it as, “we’re selling drugs and we’re doing it online and it’s through the dark web.”

S.G. explained she did not have knowledge of the dark web at that time.

         53.      S.G. later explained that she believes Crandall got into the business to pay off

student loans but got caught up in it. S.G. mentioned Crandall’s friends were wealthy.

1.11.2         S.G.’s 2015 ultimatum

         54.      S.G. allowed Crandall to use her PayPal account, as explained above, which led to

S.G. being fired from her job. The firing spurred a conversation with Crandall in which S.G.

gave Crandall an ultimatum. Crandall agreed to remove himself from the venture with Shamo,

but indicated it would take time to do so.

         55.      S.G. explained she wanted to be with Crandall and believed he was “removing

himself from the situation.” S.G. knew it would take Crandall time to remove himself from the

drug trafficking organization, and did not know what that would mean for Crandall’s

involvement and what he would be doing during that time. S.G. recalled Crandall explaining that

he would slowly push things off onto other people and Shamo would hire other people to assist

Shamo or take over what Crandall was no longer doing. S.G. agreed that the summer of 2015

was “definitely a transition period.” S.G. was not comfortable with this and then said, “But, I let

a lot of things slide that I shouldn’t have.”

         56.      Crandall was unemployed after quitting his job at an online retailer platform until

he began working at a local logistics company shortly before leaving the United States. S.G.

indicated the money Crandall made from drug sales went toward living expenses. S.G. explained

Shamo was in charge of the Bitcoin wallet and Shamo would only pull out money when Shamo




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needed it. S.G. thought that when Crandall did get money from Shamo, it was used to pay off old

bills. S.G. later explained that from her understanding of Crandall and Shamo, Crandall may not

have had joint access to the Bitcoin account because he did not want to be the front runner and

understood the consequences of breaking the law more than Shamo.

1.11.3         The pill press

         57.      S.G. stated she saw the pill press one time at Shamo and Crandall’s residence.

S.G. described the house and explained that in the basement was a bedroom belonging to Shamo.

Attached to Shamo’s bedroom was an additional storage space. Crandall had told S.G. that was

the area in which he and Shamo used the pill press. S.G. believes she only went into the room

containing the pill press one time, maybe twice. S.G. described the room as having a “smaller

than usual door,” and containing shelves. On the shelves S.G. could see powder and guessed the

powder to be drugs. S.G. assumes Crandall was with her in the room as she would not have gone

in without him.

         58.      Crandall told S.G. he knew how to work the pill press. S.G. said she remembered

being in Crandall and Shamo’s residence and asking, “What’s that sound?” S.G. described the

sound as a “thud” and “thumping” and thought it was construction. S.G. was told that sound was

a pill press. S.G. estimated the thumping to occur every two seconds. S.G.’s understanding was

the pill press would work itself once it got going and said, “So Drew would, or someone, I don’t

know, would go start it.” S.G. said Crandall would go up and down stairs and assumed he was

checking on the pill press. S.G. felt this sound was occurring less and less frequently after she

gave Crandall an ultimatum. S.G. recalled asking Crandall how to get a pill press. Crandall told

S.G., “You just order it online.”




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1.11.4         Co-conspirators

         59.      S.G. recalled one night that “Katie [Bustin] and Alex [Tonge]” were at Shamo’s

residence for what S.G. believed was a meeting. S.G. remembered thinking she did not know the

two women were friends with Shamo. This meeting took place in the downstairs living room

area. S.G. believes Bustin, Tonge, and Shamo were the only three at that meeting. S.G.

remembered Crandall going downstairs during that meeting and S.G. went downstairs to see who

was in the house. S.G. said she mentioned to Crandall she did not know Bustin and Tonge were

friends with Shamo to which Crandall responded their involvement was a way to move things

away from Crandall. S.G. told Crandall she hoped Bustin and Tonge knew the risk involved with

the organization and encouraged Crandall to let them know what had happened to S.G. regarding

her job at the online retailer platform company, as Tonge and Bustin were also employed by the

same company.

         60.      Crandall told S.G. that Bustin and Tonge would be “packaging and shipping,

handling,” for the organization. S.G. assumed the drugs being sold were the same as before and

did not recall asking Crandall. When asked what the drugs were before, S.G. responded,

“MDMA, LSD, maybe weed, Xanax, I don’t know about OxyContin but I suspect.”

         61.      S.G. believes her knowledge of the organization came from little conversations

“here and there” with Crandall or little comments about how things are typically done, or

watching documentaries.




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1.11.5         Packaging and shipments

         62.     S.G. explained Crandall had a desktop in his bedroom in Utah at the time and

therefore did not access a laptop while the two were spending time together. S.G. stated, “My

understanding from Drew was that Aaron was the one that was handling online orders and that

sort of thing, and Drew was doing the packaging and shipping and that sort of thing.” S.G. went

on to explain Bustin and Tonge “coming into the mix” was to take Crandall’s packaging job

from him. S.G. could recall seeing packaging materials at Crandall’s shared residence with

Shamo and described seeing the packaging materials downstairs in the living room, in Crandall’s

room, and in Crandall’s backpack. S.G. stated Crandall never packaged anything in front of her

while she was there and said she never assisted.

         63.     When asked how she learned other people were accepting packages on behalf of

the organization, S.G. responded, “Drew told me.” S.G. explained she vaguely remembered

being present when Crandall picked up a package at someone’s house; however, S.G. did not

know the person who received that package. S.G. stated that early in her relationship with

Crandall, Crandall asked her if she would be comfortable having a package sent to her house.

After querying him further, S.G. declined.

         64.     When asked if S.G. ever provided Crandall with knowledge regarding the postal

service due to her previous employment with the USPS, S.G. responded by saying Crandall

occasionally asked her tracking questions. S.G. explained that an Express Mail package had been

mailed to California and the tracking showed “Attempted Delivery.” Crandall feared the package

would be returned. S.G. told Crandall the customer could call the post office and go in to pick it

up. S.G. thought this was a drug package containing “Molly,” being shipped to California for a

festival. When asked why Crandall was worried the package would be returned, S.G. said,




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“because the return address on it was like, to… some random address.” S.G. went on to explain

the package therefore would not be returned to Crandall but would instead be returned to an

“unsuspecting individual.”

         65.     S.G. was unsure how often packages were returned to random addresses as said

she did not know the “ins and outs” of the business. S.G. explained there were periods of time

when a group of packages would go missing after being dropped off at a specific post office.

S.G. said when this happened the organization would have to reship the orders or return the

money.

1.11.6         Drug proceeds

         66.     When asked the total amount of money Crandall made selling drugs, S.G.

responded, “Oh that’s hard to say.” S.G. then went on to explain Crandall was receiving enough

money for monthly bills from the time he left work at the online retailer platform company,

however did not know what he made from the business prior to that time. S.G. explained that

Crandall’s monthly bills would have been paid from drug proceeds from January 2015 until

approximately July 2015. S.G. explained the back pay Shamo owed Crandall would fluctuate.

S.G. recalled Crandall had approximately $13,000 when the two left for New Zealand but did not

know if that was from his job or from “money that Aaron had given him.” S.G. stated Crandall

still has student loans.

         67.     Crandall told S.G. that Shamo was “buying me out” and would cash out the

money Crandall invested. S.G. could not recall the amount Shamo was going to pay Crandall and

said that number also fluctuated in its telling. S.G. said one day it would be $30,000 and that “it

never was what he said it was going to be and that seemed to be a frustration of Drew’s as well.”




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S.G.’s understanding was the business was a partnership as Crandall and Shamo went “in on it

together.” S.G. thought Shamo invested more money than Crandall into the organization.

1.11.7         Crandall’s anger

         68.      S.G. described Crandall as someone who could go from “mellow to very angry

pretty quickly,” and recalled one instance where Crandall and Shamo had argued. S.G. recalled

Crandall slamming the door and walking out of the residence after speaking with Shamo. S.G.

did not hear the conversation, but when she asked Shamo what had happened, he said it was

nothing and “not a big deal.” S.G. later asked Crandall as she sensed it was still bothering him.

Crandall disclosed to S.G. that his roommate, C.C., had “gone in to see Homeland Security.”

S.G. explained a drug package had been sent to C.C. at Crandall and Shamo’s address, however

S.G. was unsure if C.C. was even aware the package had been sent. S.G. stated this seizure had

happened toward the beginning of the organization. S.G. stated this was why Crandall was

upset; he was also upset that Shamo did not take the situation more seriously. S.G. estimated this

disagreement occurred spring 2015.

1.11.8         Laundering Bitcoin into fiat currency

         69.      In the months leading up to November 2015, S.G. stated Crandall was trading

Bitcoin for cash “a lot” in preparation for their trip to New Zealand. At that time, Crandall was

doing better financially and did not have money problems like he previously had. Crandall even

had $5,000 stashed in his bedside table. S.G. would occasionally go with Crandall when he

would trade Bitcoin for cash. S.G. explained Crandall would typically go to a coffee shop

located near Crandall’s residence. The amount Crandall traded for cash would vary depending

on how much that individual was willing to trade. Crandall would obtain the cash and split it




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with Shamo. S.G. estimated she went with Crandall approximately “four or five times” over the

summer and fall of 2015 to exchange Bitcoin for cash.

         70.      S.G. estimated Crandall had approximately $15,000 saved when the two left for

New Zealand. When asked the largest amount she saw Crandall accept during a Bitcoin trade for

cash, S.G. stated, “definitely $5,000, I want to say like $10,000, but I don’t know if it was quite

that much.” When asked the most Crandall ever told S.G. he traded in one transaction, S.G.

stated, “Again, I wouldn’t say over $10,000, but maybe even seven, eight, nine thousand dollars

at a time.” S.G. felt because Crandall was selling his Bitcoin he was not reinvesting it in other

things and that he was getting out of the organization.

         71.      When the two arrived in New Zealand, S.G. did not know if Shamo had paid

Crandall the money he owed, but S.G.’s understanding was Crandall was no longer a part of the

organization in any way other than Shamo still owing Crandall money. S.G. estimates Shamo

owed Crandall $12,000 at that time.

1.11.9         Maintaining contact with Shamo

         72.      S.G. explained Shamo would message Crandall occasionally but she was not sure

when Shamo began asking Crandall to assist with customer service. S.G. explained that Shamo

told Crandall he needed someone he “could trust.” S.G. did not know how often Shamo would

message Crandall but believed it was frequently, as Shamo would message Crandall through

Telegram—an encrypted messaging application. S.G. stated, “He [Shamo] was always trying to

keep people sucked in, not leaving.”

         73.      S.G. did not know if anyone other than Bustin and Tonge took over Crandall’s

role when Crandall left the business. S.G. recalled Crandall telling her he showed Shamo how to

use the pill press.




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1.11.10      Crandall renews his active participation with Pharma-Master

       74.      S.G. knew “for sure” Shamo and Crandall were communicating in May or June

2016. S.G. stated Shamo told Crandall the person doing customer service was leaving and told

Crandall that Crandall could make some extra money. The way Crandall brought this up to S.G.

made her think Shamo had been having this conversation with Crandall for a while and this was

not a new topic of conversation.

       75.      S.G. explained that while in Auckland, she and Crandall were low on cash and

had been working for accommodation and food, however, they were not making any income.

S.G. found a job as a temporary employee at an accounting firm; Crandall was becoming anxious

about not having a job despite applying for jobs. S.G. stated Shamo stepped in during that time

and took advantage of “Drew’s panic.” S.G. explained they were house sitting at that time and

the homeowners liked that their pet would have someone home all day long. By house sitting,

Crandall and S.G. were able to stay rent free. Crandall thought rejoining the drug trafficking

organization was perfect as he could stay home with the dogs and he would still have income

from which to pay student loans. S.G. estimated the time period in which Crandall considered

joining Shamo again to be June 2016.

       76.      Shamo offered to pay Crandall $1,300 a month and told Crandall he did not pay

an hourly rate, just a flat monthly rate. Shamo asked Crandall to do customer service and

indicated the hours could fluctuate depending on the volume. Crandall spoke with S.G. about the

offer, however, she was hesitant. S.G. asked why he could not get a normal job instead. S.G.

explained that Crandall told her that, because they were in another country, it was safer for him

to be a part of the drug trafficking organization there than in the United States. Crandall further

assured her that no one would know about his involvement. S.G. told Crandall she did not feel




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good about it and ultimately S.G. told Crandall he needed to make the decision for himself.

Crandall decided to become re-involved in the drug trafficking organization.

       77.     S.G. stated Shamo would transfer Bitcoin to Crandall in order to pay him while

overseas. S.G. thought Crandall held onto the Bitcoin while he had cash available to him and

thought he may have cashed out Bitcoin while in Auckland, New Zealand.

       78.     At the time Crandall rejoined with Shamo, S.G. assumed Shamo was selling the

same products he had been selling previously. Crandall continued to hound Shamo to pay him

for money he felt he was owed. Shamo made payments to Crandall for his work more

consistently than in 2015. S.G.’s understanding was Shamo paid Crandall in Bitcoin, apart from

one cash deposit. S.G. believed the cash deposit into Crandall’s account was because of a delay

in payment; Crandall asked Shamo to put the cash into his account. S.G. then stated Crandall

may have been paid $1,300, two times a month. S.G. stated she never saw that money and

assumed Crandall was putting it toward student loans. S.G. explained she was funding everyday

things, such as food, from money she was earning at work.

       79.     Crandall would work for the drug trafficking organization while S.G. was at

work. S.G. told Crandall she did not want to know about his illicit work. S.G. stated

approximately a month in to Crandall becoming re-involved, S.G. told Crandall she felt a great

deal of anxiety because he started working with Shamo again. Crandall responded to this by

saying he committed to Shamo and could not just leave again. Crandall continued to answer

messages while the two traveled to Australia and Thailand; while they travelled, Crandall would

shield her from his work by staying up late. S.G. estimated Crandall would work for the

organization every other day.




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        80.      S.G. explained that one time, while in New Zealand, she saw Crandall working

and saw his computer screen. S.G. recalled saying, “whoa, what’s that?” and then realizing it was

the organization’s webpage. S.G. described the webpage as looking like an “eBay type,”

however the listings were pills. S.G. did not spend time looking at the screen and did not read the

pill descriptions.

1.11.11       Crandall’s customer claims overdose

        81.      S.G. explained that on one occasion Crandall received a message about a

customer’s friend overdosing; as a result, the customer was requesting a refund on a large order.

1.11.12       Response to Shamo’s arrest

        82.      S.G. and Crandall were in Laos when they learned of Shamo’s arrest after a

mutual friend sent them a news article. S.G. felt shock and instant worry. S.G. asked Crandall

what he needed to do for himself. Crandall told S.G. the only thing he could do to help Shamo

was access the account, delete all messages, and notify the operations people on the dark web

that the account was compromised and request they shut it down. S.G. was aware of a jump drive

Crandall had in his possession that he said he would wipe clean, but S.G. advised him to get rid

of it. S.G.’s understanding was that Crandall smashed the jump drive and threw it in a garbage

can. S.G. did not see him throw it in the garbage can but could recall him showing her it was

smashed.

        83.      Crandall wiped his MacBook after Shamo’s arrest, according to S.G., but he did

not dispose of any computers and S.G. did not dispose of anything for Crandall. S.G. assumed

Crandall deleted his Telegram messages and said she had not used the Telegram application for

quite some time. S.G. stated Crandall kept his Telegram application in order for someone to send




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him a message warning him that he was being looked into by investigators. S.G. stated he never

received a message like that, to her knowledge.

       84.     S.G. said there were many conversations in which she asked Crandall who knew

he was involved, if he would be contacted, and if he covered his tracks. Crandall told S.G. the

only way people would discover his involvement in the drug trafficking organization was if the

people that knew he was involved in the organization rolled on him. S.G. believed the only three

co-conspirators who knew of Crandall’s re-involvement in the organization were Tonge, Bustin,

and Shamo.

       85.     S.G. and Crandall contacted people asking if they knew what was happening with

Shamo. S.G. stated the two notified Crandall’s parents to pass along Crandall’s information if

they were contacted. S.G. put a halt on wedding plans for the moment to see what would happen,

and they planned on Crandall having to fly home to resolve the issue. S.G. stated both she and

Crandall felt odd that no one had contacted them. S.G. and Crandall, who had become engaged,

decided to go on with their wedding plans because they felt they could not put their life on hold.

       86.     When asked why Crandall did not contact law enforcement instead of waiting to

be contacted, S.G. stated Crandall would not want to be a part of the investigation if he could

help it, because he knew it would be a “big deal” and a “big disaster.” The thought of Crandall’s

involvement being more than just as a witness against Shamo was too much to fathom, life

consuming, and S.G. explained that she and Crandall did not talk about it.

       87.     S.G. believes Crandall only had one Bitcoin left at that point, as he had not been

paid. While in Cambodia, S.G. explained, Crandall put up a listing on LocalBitcoin.com asking

someone to trade cash for that final Bitcoin. S.G. stated Crandall used LocalBitcoin.com to

facilitate all his trades and estimated Bitcoins were worth $750 at that time. Crandall made the




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trade while in Cambodia and received U.S. currency. S.G. estimated the trade occurred

approximately one and a half weeks after Shamo’s arrest.

       88.      S.G. reached out to several old friends and associates to find out about Shamo’s

case and the investigation. S.G. agreed she and Crandall “definitely” also reached out to see there

was any heat on Crandall. S.G. stated, “We definitely wanted to hear word from somebody. . .

but silence.” S.G. recalled Crandall talked with C.C.—his old roommate—after Shamo’s arrest.

S.G. could tell that Crandall did not want to discuss with S.G. the messages he was receiving.

       89.      When asked if she talked with Mario Noble after Shamo’s arrest, S.G. stated she

messaged him via Snapchat but did not receive a response. S.G. explained before leaving New

Zealand, Noble told her he was working for Shamo. To S.G.’s knowledge, Noble did not know

Crandall was also working for Shamo.

1.11.13      S.G. learns about Fentanyl

       90.      The first time S.G. was aware of Fentanyl was when she read the news article

following Shamo’s arrest. S.G. stated she never asked Crandall about the Fentanyl because she

could tell he already knew what kind of mess he was in.

1.11.14      Concerned about coming back to the United States

       91.      S.G. claimed that she and Crandall did not have a conversation before traveling to

Hawaii about the risk in returning to the United States, other than discussing, at times, whether

they had been contacted or their parents had been contacted by law enforcement. However, S.G.

did have concerns about returning to the United States. S.G. and Crandall had conversations in

general about asking for a lawyer, especially following the interrogation at work that led to

S.G.’s termination from the online marketplace company.




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2.     ARGUMENT
       This is a detention review. The Court is being asked to review again the facts as they

relate to Mr. Crandall to determine whether Crandall is a risk of flight, danger to the community,

or obstruction of justice such that he should be detained pending trial. Mr. Crandall indeed

represents an unmanageable risk of flight, danger to the community, and obstruction of justice

and the United States urges the Court to detain Mr. Crandall pending the resolution of his case.

2.1    Legal Standard and Burden of Proof

       District Court Judges review de novo the detention decisions of Magistrate Judges.7

When a case involves a serious risk that a defendant will flee or attempt to obstruct justice, the

Bail Reform Act of 1984 provides that “a judicial officer shall hold a hearing to determine

whether any condition of or combination of conditions … will reasonably assure the appearance

of the person as required and the safety of any other person and the community.”8 If after a

hearing, the Court “finds that no conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community, such judicial officer shall

order the detention of the person before trial.”9

       And even though “[i]n our society, liberty is the norm, and detention prior to trial is the

carefully limited exception,”10 Congress identified a sub-set of particularly violent and dangerous

crimes for which it mandated that a presumption of detention apply.11 Count 2 of the

Superseding Indictment—in which Mr. Crandall is charged with Conspiring to Distribute


7
  DUCrim R 57-16(a)(1); United States v. Lutz, 207 F. Supp. 2d 1247, 1251 (D. Kan. 2002);
United States v. Madsen, No. 2:11-CR-127TS, 2011 WL 3847246, * 1 (D. Utah 2011); see
United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).
8
  18 U.S.C. § 3142(f)(2).
9
  18 U.S.C. § 3142(e)(1).
10
   United States v. Salerno, 481 U.S. 739, 755 (1987).
11
   18 U.S.C. § 3142(f)(1).


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Fentanyl—is among those crimes for which Congress declared that a presumption of detention

arises.12 As a starting point, the Court is required to presume that “no condition or combination

of conditions will reasonably assure the appearance of [Mr. Crandall] as required and the safety

of the community.”13

       In a case like this where the presumption applies, the defendant must introduce sufficient

evidence to rebut the presumption of detention; if he fails to do so, detention should be ordered.14

If the defendant presents evidence sufficient to rebut the presumption, the Court should then

consider evidence presented by the United States and defendant to determine if detention is

nevertheless warranted.15

       If the defendant presents sufficient evidence to rebut the presumption of detention, the

Court should then consider the factors set forth in 18 U.S.C. § 3142(g). Specifically, in

determining whether there are no conditions that will reasonably assure the defendant’s

appearance, the Court shall “take into account the available information concerning—(1) the

nature and circumstance of the offense charged…; (2) the weight of the evidence against the

person; (3) the history and characteristics of the person…; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the person’s release….”16

       Assuming the defendant presents sufficient evidence to overcome the presumption of

detention, the United States must then prove a serious, unmanageable risk of flight by “a

preponderance of the evidence” for the Court to order the defendant detained.17 When the



12
   Doc. 32.
13
   18 U.S.C. § 3142(e)(3).
14
   United States v. Stricklin, 932 F.2d 1353, 1354-55 (10th Cir. 1991).
15
   Id.
16
   18 U.S.C. § 3142(g).
17
   United States v. Cisneros, 328 F.3d 610, 613 (10th Cir. 2003) (sustaining the district court’s
determination that “the government had proved by a preponderance of the evidence that Cisneros


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United States seeks to detain a defendant based upon danger to the community, the United

States’ burden of proof is clear and convincing evidence.18

2.2     Crandall is an Unmanageable Risk of Flight

        Crandall presents a risk of flight such that no conditions of release will sufficiently ensure

his appearance at trial and the United States urges the Court to detain Crandall as an

unmanageable risk of flight.

2.2.1      The nature and circumstance of the offense charged

        The callous use of Fentanyl to drive up profits and the size and scope of the distribution

of Fentanyl set this case apart. Fentanyl is a powerful synthetic opioid analgesic that is similar to

morphine but is 50 to 100 times more potent.19 Because of its high potency, Fentanyl ingestion

greatly increases the risk of overdose and death, especially for drug users who are unaware they

are consuming Fentanyl.20

        Like heroin, morphine, and other opioid drugs, fentanyl works by binding to the
        body's opioid receptors, which are found in areas of the brain that control pain and
        emotions. When opioid drugs bind to these receptors, they can drive up dopamine
        levels in the brain's reward areas, producing a state of euphoria and relaxation.
        Fentanyl's effects resemble those of heroin and include euphoria, drowsiness,
        nausea, confusion, constipation, sedation, tolerance, addiction, respiratory
        depression and arrest, unconsciousness, coma, and death. . . The high potency of
        fentanyl greatly increases risk of overdose, especially if a person who uses drugs
        is unaware that a powder or pill contains fentanyl.21




posed a serious risk of flight such that no conditions of release would reasonably assure
Cisnero’s presence at trial.”).
18
    18 U.S.C. § 3142(f).
19
    https://www.drugabuse.gov/drugs-abuse/fentanyl (accessed July 2017).
20
    https://www.drugabuse.gov/publications/drugfacts/fentanyl (accessed July 2017).
21
   Id.


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       Fentanyl overdoses have spiked in 2015 and especially 2016; “In 24 of the nation’s

largest cities and the counties that surround them, fentanyl-related overdose deaths increased

nearly 600 percent from 2014 to 2016.”22

       Pharma-Master shipped Fentanyl and Alprazolam across the United States. The map

below shows, by dots, where Pharma-Master sent pills in the year leading up Mr. Shamo’s arrest

in November 2016.




22
  https://www.washingtonpost.com/graphics/2017/national/fentanyl-overdoses/?hpid=hp_hp-
more-top-stories_fentanyl-1115pm%3Ahomepage%2Fstory&utm_term=.6dea9f126200
(accessed October 2017).


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Some of the listings on Pharma-Master’s storefront indicated the fake Oxycodone pills for sale

contained Fentanyl. Many other listings did not. For listings where Pharma-Master was offering

distribution-quantities for sale—as opposed to personal-use quantities, like 10 tablets—it is

almost certain that the end users who purchased from Pharma-Master’s large customers did not

know they were purchasing pills that contained Fentanyl.

          For example, agents working in Oregon identified the customer behind the following

10,000 fake Oxycodone pill order below; the customer is a gang member and street-level drug

dealer:




It is most unlikely that the addicts buying from this gang member knew he was selling Fentanyl

disguised as Oxycodone pills.




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2.2.2      The weight of the evidence against the defendant

        The weight of the evidence against Crandall is strong; there is no doubt he conspired with

Shamo and the other co-defendants. The co-conspirators he recruited and trained to join the

conspiracy, T.E., Tonge, Bustin, and others, will testify against him. The financial trail leads to

him. Crandall’s fiancé, S.G., was an eyewitness to his involvement in the conspiracy, both in

Utah and abroad, both as a manufacturer, shipper, and handling customer service duties. His

fiancé has debriefed with agents, as mentioned above. The United States anticipates calling S.G.

as a witness against Crandall.

2.2.3      The history and characteristics of the defendant

        Mr. Crandall engaged in a long-term conspiracy to manufacture and distribute various

controlled substances. Day in and day out, Mr. Crandall made affirmative choices to continue in

the conspiracy. Mr. Crandall appears to have been driven to excel in the conspiracy by greed.

        Mr. Crandall exhibited sophistication (1) by running a pill press, (2) by engaging in

bitcoin transactions to launder proceeds into a fiat currency, (3) by recruiting co-conspirators, (4)

by setting up co-conspirators with PGP encrypted dark web email accounts through which the

conspiracies business could be conducted outside the view of law enforcement, (5) by gathering

and processing dark web orders, and (6) by communicating with dark web customers by using a

series of encryption methods and encrypted communication platforms.




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2.2.4      History of alcohol or substance abuse

        In her interview with investigators, S.G. stated Crandall would use MDMA occasionally

at clubs, and would also use LSD. S.G. was not aware if Crandall used cocaine or heroin. S.G.

also used MDMA occasionally and the two used LSD together. S.G. said she would “sometimes”

smoke marijuana but stated “much less often than Drew.”

        S.G. stated she did not consume any illicit drugs while overseas; however, Crandall used

LSD and smoked marijuana while abroad. S.G. explained Crandall told her he brought a few tabs

of the LSD with him in his suitcase. Crandall’s drug use undoubtedly led to his poor employment

history and involvement with the drug trafficking organization. Drug users are more likely to flee

than sober-minded defendants.

2.2.5      Subject to lengthy period of incarceration if convicted

        Crandall is charged with a crime that carries a ten-year, minimum mandatory sentence.

For two reasons, Crandall will not be eligible for safety-valve relief: first, he worked as a leader

and an organizer within the organization; second, his actions resulted in death and serious bodily

injury to some of his customers who ingested Fentanyl. The Base Offense Level for Count 2 is

38. A sentence of such magnitude, especially for someone new to the criminal justice system,

provides a strong incentive to flee.




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2.2.6      Lack of stable employment

        Other than his work for the drug trafficking organization, Mr. Crandall has held sporadic

employment for short periods of time during the years in which he has been engaged in drug

trafficking. Crandall’s employment overseas appears to have been punctuated by temporary work

to support and supplement his semi-nomadic leisurely lifestyle. Or, in cases such as when he was

a dog sitter, it allowed him a place from which and a time at which he could comfortably

continue his drug trafficking work.

2.2.7      Lack of stable residence

        When he lived in the United States, Crandall was a renter who bounced around from

apartment to apartment. Overseas, Crandall lived in many places and spent time measured in

months touring foreign countries. He has no history where he has exhibited a stable residence.

2.2.8      Significant ties outside the United States

        Crandall lived outside of the United States for the seventeen months preceding his arrest.

Crandall left the United States on November 28, 2015. It does not appear that he returned to the

United States at any point during those seventeen months. During that time, S.G. posted pictures

of her travel with Crandall on Instagram and on her travel blog. S.G. reported travel to the

following destinations:




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Thailand:




Thailand:




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New Zealand:




New Zealand:




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Singapore:




Singapore:




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Laos:




Laos:




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Bali:




Bali:




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Malaysia:




Malaysia:




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Cambodia:




        Despite their jet-setting lifestyle, it appears that S.G. and Crandall had planned to call

Australia home, based on a post on her travel blog.

2.2.9       Prior attempt to evade law enforcement

        Crandall’s efforts when he realized Shamo had been arrested were to (1) shut down the

Pharma-Master storefront, and (2) destroy physical evidence. Crandall also fled the United

States, at least in part, in an attempt to shield himself from the consequences of his illegal

actions.

        S.G. took pains to minimize the nature of Crandall’s flight, telling investigators, “I would

say he left to remove himself from the situation because Aaron is manipulative.” But S.G. also

told investigators that Crandall felt anger over Shamo’s carelessness at importing a drug package

by having it sent to their roommate, at their address. Crandall knew that his roommate had been

interviewed by HSI.




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       After Shamo’s arrest, S.G. and Crandall worked to contact old friends and associates to

find out if they were under investigation. Evasion was not far from Crandall’s mind as he

prepared to travel to Hawaii to get married. The article found on his computer about the arrest of

a long-term-fugitive drug kingpin reveals as much.

       If given the opportunity, whether by release on bond or ankle monitor or some other set

of conditions, Crandall will flee. The United States urges the Court to detain Crandall.

2.3    Crandall is an Unmanageable Risk of Danger to the Community

       Crandall presents a risk of danger to the community such that no conditions of release

will sufficiently ensure the safety and welfare of the community; the United States urges the

Court to detain Crandall as an unmanageable risk of danger to the community. Crandall’s chief

motivation is greed. Crandall knows pressing fake Oxycodone and counterfeit Alprazolam pills

has a high likelihood of leading to immense wealth. Crandall has the knowledge, skills, and

ability to run a pill press. Crandall understands the order processing and customer service

requirements of a major dark web vendor. Crandall is versed in communicating through

encrypted channels on both the surface and dark web. Crandall has the knowledge and ability to

launder large sums of Bitcoin into fiat currencies. The investigation that led to his arrest has

revealed to Crandall the one or two mistakes the organization made. In short, Crandall is

prepared in every way to resume the operations of the conspiracy.

       And if he begins anew, death will follow him. Agents are currently conducting several

investigations into overdose deaths of customers of Crandall and Shamo. Crandall himself was

warned by a customer that the customer’s friend had overdosed. Fentanyl, in particular, has

deadly potency, as evidenced by a small sampling of news articles linked in the footnote below;




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for example, one report shows Fentanyl overdoses have risen 540% over a three-year period.23

Crandall, because of his knowledge, skills, abilities, and greed, presents an unmanageable risk of

danger to the community.

2.4    Crandall is an Unmanageable Risk of Obstruction of Justice

       Crandall presents a risk of obstruction of justice such that no conditions of release will

sufficiently prevent further obstruction; the United States urges the Court to detain Crandall as an

unmanageable risk of obstruction of justice.

       Crandall obstructed justice by alerting AlphaBay administrators to Shamo’s arrest and

asking for the Pharma-Master storefront to be taken down. Crandall obstructed justice by

destroying his thumb drive that contained evidence of his work for the organization on the dark

web. Crandall obstructed justice by wiping clean the contents of his laptop. Crandall has another

opportunity to obstruct justice if released: marrying his fiancé and preventing her from testifying.

       S.G. is the only eye-witness to Crandall’s involvement in the conspiracy in 2016. By

marrying S.G.—the United States’ hesitant-but-essential witness against Crandall—the

defendant could shield himself from the effects of S.G.’s testimony by enabling S.G. to claim

spousal privilege. Spousal privilege as recognized in the federal courts has two aspects: (1)

the testimonial privilege, which permits one spouse to decline to testify against the other during

the marriage, and (2), the marital communications privilege, which either spouse may assert to

prevent the other from testifying to confidential communications made during the marriage.24 If


23
   NY Times: Fentanyl overdoses up 540%; Boy, 10, dies from contact with Fentanyl at
swimming pool; Wave of addiction linked to fentanyl worsens; and a particularly thoughtful
opinion: Facing Down America’s Fentanyl Epidemic.
24
   United States v. Bahe, 128 F.3d 1440, 1441–42 (10th Cir. 1997) (citing Trammel v. United
States, 445 U.S. 40(1980)).




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Crandall were released from custody and married his fiancé, S.G., S.G. could claim the

testimonial privilege when called to testify against Crandall at trial. In this way, Crandall, if

released, could again obstruct justice.


3.      CONCLUSION
        Because the proffered evidence shows Crandall presents an unmanageable risk of flight,

an unmanageable risk of danger to the community, and an unmanageable risk of obstruction of

justice, the United States urges the Court to agree with the decision made by Magistrate Judge

Barry M. Kurren in the District of Hawaii and detain Crandall pending trial.

     Respectfully Submitted this 25th Day of October, 2017.



                                                       JOHN W. HUBER
                                                       United States Attorney


                                                       /s/ Michael Gadd
                                                       ___________________________________
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                                                       Special Assistant United States Attorney




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